 

IN THE UNI'I`ED STATES DISTRICT COURT ic w

FoR THE DISTRJCT oF NEW MEXICO 1~ " ' L 3 i""
UNITED STATES OF AMERICA, )
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Plaimin‘, ) CRn/IINAL No. l l ;'C 12 l 2113 l QE>
)
vs. ) Count 1: 21 U.S.C. § 846: Conspiracy;
)
JOSE I. CARO, a.k.a. “Smiley,” and ) Counts 2, 4-7, and 9: 21 U.S.C. §§ 841(a)(1)
EULALIO VALENTIN CHAVEZ, a.k.a. ) and (b)(l)(C): Distribution of Cocaine; 18
“Lalo,” ) U.S.C. § 2: Aiding and Abetting;
)
Defendants. ) Counts 3 and 8: 21 U.S.C. § 843(b): Use ofa
) Com_rnunican`on Facility to Further t`ne
) Commission of a Drug Traflicking Cr.ime.
I N D l C T M E N T
The Grand Jury charges:
Count 1

From on or about May 12, 2017, and continuing to on or about September 26, 2017, in
Doi“ia Ana County, in the District of New Mexico, and elsewhere, the defendants, JOSE I. CARO,
a.k.a. “Smiley,” and EULALIO VALENTIN CHAVEZ, a.k.a. “Lalo,” unlawf`ully, knowingly
and intentionally combined, conspired, confederated, agreed, and acted interdependently with each
other and with other persons whose names are known and unknown to the Grand Jury to commit an
offense defined in 21 U.S.C. §§ 841 (a)(l) and (b)(l)(B), specifically, distribution of a controlled
Substance, 500 grams and more of cocaine
Overt Acts
In iilrtherance of the conspiraey, and to accomplish the objectives of the conspiracy, the

following acts, among others, were committed:

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Overt Act One
On May 12, 2017, in a telephone call, Eulalio Valentin Chavez told an undercover agent that
the price for ten ounces of cocaine would be $900 per ounce and said he would have to call his
“guy” for a better price.
Overt Act Two
On May 12, 2017, in a telephone ca11 immediately following his discussion about cocaine
prices with an undercover agent, Eulalio Valentin Chavez called Jose I. Caro to secure a price of
$350 per ounce of cocaine.
Overt Act Three
On May 16, 2017, Eulalio Va]entin Chavez sold 279.5 net grams of cocaine for $8,500 to an
undercover agent.
Overt Act Four
On May 16, 2017, following the sale of cocaine to an undercover agent, Eulalio Valentin
Chavez delivered money from the sale to Jose I. Caro, in the same Dunkin Donuts cup in which the
agent had provided the money to Eulalio Valentin Chavez.
Overt Act Five
On May 18, 2017, Jose I. Caro discarded in his trash cellophane and black tape
packaging that was consistent with the packaging for a kilogram-sized brick of cocaine and
which contained cocaine residue.
Overt Act Six
On June 13, 2017, Jose l. Caro provided cocaine to Eulalio Valentin Chavez.
Overt Act Seven
On June 13, 2017, immediately after meeting with Jose I. Ca.ro, Eulalio Valentin Chavez

sold 140.35 net grams of cocaine for $4,620 to an undercover agent
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Overt Act Eight

On June 13, 2017, following the sale of cocaine to an undercover agent, Eulalio Valentin
Chavez delivered money from the sale to Jose I. Caro.
Overt Act Nine
On July 18, 2017, Jose l. Caro provided cocaine to Eulalio Valentin Chavez.
Overt Act Ten
On July 18, 2017, immediately after meeting with Jose I. Caro, Eulalio Valentin Chavez sold
141.65 net grams of cocaine for $4,240 to an undercover agent.
Overt Act Eleven
On July 18, 2017, following the sale of cocaine to an undercover agent, Eulalio Valentin
Chavez delivered money from the sale to Jose I. Caro.
Overt Act Twelve
On September 24, 201 7, in a telephone call with an undercover agent, Eulalio Valentin
Chavez agreed to sell ten ounces of cocaine for $8,500 to the agent, on Tuesday Septernber 26,
2017.
Overt Act Thirteen
On September 26, 2017, in a series of text messages, Eulalio Valentin Chavez and Jose l.
Caro confirmed that they would be ready to sell cocaine to an undercover agent later that day.
Overt Act Fourteen
On September 26, 2017, Jose I. Caro provided cocaine to Eulalio Valentin Chavez.
Overt Act Fifreen
On September 26, 2017, immediately after meeting with Jose I. Caro, Eulalio Valentin

Chavez sold 278.2 net grams of cocaine for $8,500 to an undercover agent

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Overt Act Sixteen
On September 26, 2017, immediately following the sale of 278.2 net grams of cocaine to an
undercover agent, Eulalio Valentin Chavez delivered at least $1,400 from the sale to Jose l. Caro.
In violation of 21 U.S.C. § 846.
§M
On or about May 2, 2017, in Dor'ra Ana County, in the Dist:rict of New Mexico, the
defendant, EULALIO VALENTIN CHAVEZ, a.k.a. “Lalo,” unlawfully, knowingly and
intentionally distributed a controlled substance, a mixture and substance containing a detectable
amount of cocaine
ln violation of 21 U.S.C. §§ 841(a)(]) and (b)(i)(C), and 18 U.S.C. § 2.
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On or about May 12, 2017, in Dor‘ia Ana County, in the District of New Mexico, and
elsewhere, the defendant, EULALIO VALENTIN CHAVEZ, a.k.a. “Laio,” unlawfully,
knowingly and intentionally used a communication facility, a telephone, to iiirther the commission of
a drug trafficking crime, namely, conspiracy to distribute a controlled substance, contrary to 21
U.S.C. § 846.
fn violation of 21 U.S.C. § 843(b).
QU.LM
On or about May 16, 2017, in Dor`ia Ana County, in the District of New Mexico, the
defendants, JOSE I. CARO, a.k.a. “Smiley,” and EULALIO VALENTIN CHAVEZ, a.k.a.
“Lalo,” unlawfully, knowingly and intentionally distributed a controlled substance1 a mixture and

substance containing a detectable amount of cocaine.

rn violation 0le U.s.C. §§ s41(a)(1) and (b)(l)(c), and 18 U.s.c. § 2.

 

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On or about June 13, 2017, in Dofia Ana County, in the District ofNew Mexico, the
defendants, JOSE I. CARO, a.k.a. “Srniley,” and EULALIO VALENTIN CHAVEZ, a.k.a.
“Lalo,” unlawiillly, knowingly and intentionally distributed a controlled substance, a mixture and
substance contaimng a detectable amount of cocaine.

In violation of21 U.S.C. §§ 841(a)(1) and (b)(l)(C), and 18 U.S.C. § 2.

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On or about July 18, 2017, in Doria Ana County, in the District of New Mexico, the
defendants, JOSE I. CARO, a.k.a. “Srniley,” and EULALIO VALENTIN CHAVEZ, a.k.a.
“Lalo,” unlawfully, knowingly and intentionally distributed a controlled substance, a mixture and
substance containing a detectable amount of cocaine

In violation of21 U.S.C. §§ 84l(a)(l) and (b)(l)(C), and 18 U.S.C. § 2.

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On or about August 17, 2017, in Dofia Ana County, in the District of New Mexico, the
defendant, EULALIO VALENTIN CHAVEZ, a.k.a. “Lalo,” unlawiiilly, knowingly and
intentionally distributed a controlled substance, a mixture and substance containing a detectable
amount of cocaine.

ln violation of 21 U.S.C. §§ 841(a)(1) and (b)(l)(C), and 18 U.S.C. § 2.

§§_unf_$

On or about September 26, 2017, in Doiia Ana County, in the District ofNew Mexico, and
eisewhere, the defendants, JOSE I. CARO, a.k.a. “Smiley,” and EULALIO VALENTIN
CHAVEZ, a.k.a. “Lalo,” unlawiiilly, knowingly and intentionally used a communication facility, a
telephone, to iiirther the commission of a drug trafficking crime, namely, conspiracy to distribute a

controlled substance, contrary to 21 U.S.C. § 846.

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In violation of 21 U.S.C. § 843(b).
M
On or about September 26, 2017, in Dor”ia Ana County, in the District of New Mexico, the
defendants, JOSE I. CARO, a.k.a. “Smiley,” and EULALIO VALENTIN CHAVEZ, a.k.a.
' “Lalo,” unlawfully, knowingly and intentionally distributed a controlled substance, a mixture and
substance containing a detectable amount of cocaine.

ln violation of21 U.S.C. §§ 841(a)(l) and (b)(l)(C), and 18 U.S.C. § 2.

A TRUE BILL:

!s/
FOREPERSON OF THE GRAND JURY

 

